                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF WISCONSIN


UNITED STAES OF AMERICA,

                   Plaintiff,

            v.                                                 Case No. 18-CR-62

BRIAN L. GANOS,
MARK F. SPINDLER,
SONAG COMPANY INC, and
NUVO CONSTRUCTION COMPANY INC,

                   Defendants,

            v.

STATE OF WISCONSIN,

                   Movant.


                 ORDER DENYING MOTIONS TO QUASH


      The United States and third-party State of Wisconsin have both moved to

quash subpoenas served on Wisconsin governmental entities by defendant Sonag

Company Inc. pursuant to Fed. R. Crim. P. 17. See State of Wisconsin’s Motion to

Quash, ECF No. 53; United States’ Motion to Quash Subpoenas Duces Tecum, ECF

No. 55. For the reasons that follow, the motions to quash are denied and the

subpoenas are hereby enforced.

I.    Background

      On July 20, 2018, Sonag moved for an order approving and enforcing

subpoenas duces tecum that Sonag sought to, but had not yet served, on two



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Wisconsin governmental entities, the Department of Transportation and the

Wisconsin Elections Board. Defendant’s Motion for Preliminary Order Approving

and Enforcing Subpoenas Duces Tecum Before Anticipated Challenge to Jury Plan,

ECF No. 32. Sonag asserted that this District’s jury plan “includes several features

that predictably lead to under-representation of racial and ethnic minorities in jury

venires (and ultimately on empaneled juries).” Id. at 3. The motion then set out

facts and arguments supporting this assertion, in effect showing cause for concern

about the venires produced by the District’s jury plan. Id. at 2-5. Sonag also

explained that it has retained an expert who would use the information subpoenaed

from the state entities to determine whether Sonag has sufficient factual,

statistical, and legal bases to bring a motion attacking the jury plan. Id. at 6-8.

      In response to the motion, the Court convened a hearing on July 24, at which

Sonag committed to (1) comply with an appropriate protective order to safeguard

any confidential information it might obtain, (2) take steps to minimize the need for

confidential information, (3) work cooperatively with the State of Wisconsin to

obtain the requested information, and (4) share any information it receives with the

United States. The Court bifurcated any motion practice that Sonag might pursue

regarding the jury plan issue from the deadlines already in place for pretrial

motions, endorsed use of Fed. R. Crim. P. 17 to obtain the information Sonag

sought, and set a return date of August 17, 2018, for the subpoenas. See Court

Minutes for Motion Hearing, ECF No. 34.




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      On July 25, 2018, Sonag subpoenaed the Wisconsin Elections Commission to

produce its WisVote database, see Exhibit A to U.S.’s Mot., ECF No. 55-2, and the

Wisconsin Department of Transportation to produce its driver’s-license-holders

database, see Exhibit B to U.S.’s Mot., ECF No. 55-3. Both subpoenas limited their

scope to require production only as to those residents within the twelve counties

comprising the Milwaukee Division of the Eastern District of Wisconsin. Moreover,

both subpoenas required production by August 17, 2018.

      This Court then conducted a series of hearings to monitor subpoena issues.

On August 7, Sonag reported making significant progress with the subpoenaed

entities. In addition, Assistant Attorney General Randall Schneider entered an

appearance and explained, without waiving any right to later resist enforcement,

the steps his office had taken to coordinate a response to the subpoenas and to

safeguard confidential information. The United States expressed concern about not

allowing subpoena compliance issues to interfere with overall case scheduling and

reserved its right to move to quash. See Court Minutes of Status Conference, ECF

No. 35. On August 24, Sonag again reported that it had made good progress with

the subpoenaed entities and that it had agreed to terms on a protective order with

the State of Wisconsin to protect confidential information. The United States sought

and obtained extra time for review before agreeing to sign the protective order. The

Court moved the subpoena return date to September 14. See Court Minutes for

Status Conference, ECF No. 45.




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      On August 31, the State of Wisconsin filed a short motion to quash, ECF No.

53, and the United States followed suit on September 6, with its own, longer motion,

ECF No. 55.

      On September 17, 2018, the Court held a status hearing in which, among

other things, it indicated it would deny the motions to quash. The State of

Wisconsin reported that it needed some additional time for subpoena compliance,

but that it had been working diligently to comply and expected production within a

matter of weeks. The United States again expressed concern about the subpoena

issues affecting the trial date. See Court Minutes for Status Conference, ECF No.

68. Finally, on October 2, the Court held its final status conference. The State of

Wisconsin reported that it had compiled all the data requested in the subpoenas

and was ready to produce. The Court thanked Mr. Schneider for the State’s

exemplary conduct. The parties then addressed the manner in which the motions to

quash would be adjudicated, with the Court explaining it would issue a written

order by October 5 given that the United States wished to continue to pursue the

matter. In this regard, the Court stayed compliance with the subpoenas unless and

until the District Court denies the motions to quash. See Court Minutes for Status

Conference, ECF No. 71.

II.   Analysis

      The United States begins by asserting that criminal defendants are afforded

only limited discovery, and that what discovery is to be afforded is provided for by

Fed. R. Crim. P. 16. See United States’ Memorandum in Support of Motions to



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Quash Subpoenas Duces Tecum 4-5, ECF No. 55-1. This may all be true, but it is

also beside the point. Under its own terms, Rule 16 “regulates discovery by the

defendant of evidence in possession of the prosecution, and discovery by the

prosecution of evidence in possession the defendant.” Fed. R. Crim. P. 16 advisory

committee’s note to 1975 amendment. Rule 17, on the other hand, is a device that a

party (either prosecution or defendant) can use to obtain information from non-

parties. So the policy reasons for limiting discovery into law enforcement entities

that illuminate Rule 16 burn less brightly in the Rule 17 context. In fact, Rule 17 as

originally adopted was “substantially the same” as rule 45 of the Federal Rules Civil

Procedure. Fed. R. Crim. P. 17 advisory committee’s note to 1944 amendment.

      Because the Court is limiting its analysis to whether production of the

subpoenaed material may be obtained under Rule 17, there is no need to address

the arguments made by the United States regarding other potential sources of

authority. See U.S.’s Mem. 7-8.

      As to Rule 17(c), which Sonag seeks to invoke, the Supreme Court ruled in

United States v. Nixon that a party seeking to overcome a motion to quash must

satisfy the following four-factor test:

      (1) that the documents are evidentiary and relevant; (2) that they are
      not otherwise procurable reasonably in advance of trial by exercise of
      due diligence; (3) that the party cannot properly prepare for trial
      without such production and inspection in advance of trial and that the
      failure to obtain such inspection may tend unreasonably to delay the
      trial; and (4) that the application is made in good faith and is not
      intended as a general ‘fishing expedition.’


418 U.S. 683, 699-700 (1974). Sonag has shown that it meets all four factors.

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      A. The documents must be evidentiary and relevant

      As Sonag notes, neither the United States nor the State have contested the

potential relevance of the information sought in the subpoenas. Defendant Sonag’s

Response to Motions to Quash 10, ECF No. 56. It is undisputed that, under this

District’s jury plan, the Clerk of Court uses the subpoenaed WisVote database to

draw names for potential jurors. It is also undisputed at this point that

demographic information regarding the names in the WisVote database may be

obtained from the subpoenaed drivers-license-holders database. Sonag seeks to use

an expert to correlate the two databases to determine whether the jury plan results

in a fair cross-section in the venires. If not, then a pre-trial motion can follow.

      The United States argues that Sonag has undercut its need for the

subpoenaed information by its admission during a status conference that the

subpoenaed information may not, in the end, support a fair cross-section challenge.

U.S.’s Mem. 6. The Court disagrees. Sonag’s counsel cannot be faulted for complying

with ethical responsibilities regarding the filing of meritless motions. Just as in

Nixon, where the special prosecutor sought certain White House tape recordings,

there is no guarantee that the subpoenaed information will in fact prove to be

relevant. Sonag has proffered the preliminary conclusion of its expert that, based on

publicly available information, the jury plan does not result in a fair cross-section.

Def.’s Mot. 4-6; Def.’s Br. 10, 12. This proffer is more than sufficient for Sonag to

carry its burden.




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      B. The documents are otherwise unavailable in advance of trial

      The information Sonag seeks is not publicly available and thus could not be

obtained even by the exercise of extraordinary, much less ordinary, due diligence.

This is especially so because a small part of the subpoenaed information is

confidential, and will be protected under a suitable protective order. There simply is

no other mechanism available to Sonag to obtain the subpoenaed information.

      C. Sonag could not prepare for trial without the subpoenaed
         information

      Any motion that Sonag might bring regarding whether the jury plan violates

a fair cross-section requirement would need to be brought before trial. Respect for the

time of the jurors demands nothing less.

      The United States does not argue the timing point—presumably, it agrees

that a fair cross-section challenge should be brought before a jury is empaneled.

Rather, the United States asserts that Sonag already possesses demographic

information (JS-12 Reports) sufficient to conduct a fair cross-section analysis. U.S.’s

Mem. 6. Sonag counters, persuasively, that it has retained an expert who has

conducted a preliminary analysis based on the JS-12 Reports and other sources and

has made a preliminary determination that the jury plan does not result in a fair

cross section. See Def.’s Mot. 4-6. But Sonag says the expert needs the granular

demographic information that only the drivers-license-holder database can provide.

Id. As the United States has not proffered a contrary expert opinion, the Court

believes that Sonag has set out a sufficient need for the information sought in the

subpoenas.

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      D. Sonag is not engaging in a fishing expedition

      The United States reiterates its complaint that Sonag is engaging in

discovery and that Sonag cannot assure the Court that the subpoenaed information

will lead to a pre-trial challenge to the jury plan. Regarding the first point, as noted

above, the United States might have an argument about impermissible discovery if

Sonag were proceeding under Rule 16 or if Sonag were using Rule 17 to obtain

discovery of evidence in the possession of the prosecution. That’s not what Sonag is

doing. It is properly using Rule 17(c) to obtain relevant information for use by its

expert to craft a potential fair cross-section claim.

      As to the second point, Sonag has been anything but scattershot in its

approach to obtaining the information sought here. As detailed during the status

hearings, Sonag has worked closely with the State entities to minimize both burden

on the State and use of confidential information. The precision of the requests belie

the fishing expedition claim. Moreover, the State has, admirably, been able to

complete all work necessary for production. Everything is set for production of the

subpoenaed materials, and it is only the motion to quash that prevents this matter

from proceeding.

      Finally, a word on standing. “A party only has standing to move to quash the

subpoena issued to another when the subpoena infringes upon the movant's

legitimate interests.” United States v. Tomison, 969 F. Supp. 587, 596 (E.D. Cal.

1997) (citing United States v. Raineri, 670 F.2d 702, 712 (7th Cir.1982)). The

government will often lack standing to challenge a subpoena issued to a third party



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absent a claim of privilege, proprietary interest in the subpoenaed material, or some

other interest in the subpoenaed material. United States v. Daniels, 95 F. Supp. 2d

1160, 1164 (D. Kan. 2000).

      The Court is not at all convinced that the United States has standing to move

to quash under the circumstances here. Compliance with the subpoenas can be

completed now, so enforcement of the subpoenas would not jeopardize the trial date

at this point. Beyond the interest in a speedy trial, the United States has not

identified any other reason why it would have standing to contest enforcement of

the subpoenas.

      The Court nevertheless believes it appropriate to engage in the Nixon

analysis given that the State, which unquestionably has standing, also moved to

quash. It is noteworthy that the State did not seek to argue that the subpoenas

imposed any undue burden or that they were vague, overbroad, or otherwise

oppressive. See Nixon, 418 U.S. at 698 (“A subpoena for documents may be quashed

if their production would be ‘unreasonable or oppressive’ but not otherwise.”). To the

contrary, the State has worked professionally with Sonag to complete all the steps

necessary for production. There being no reason in the record to believe that

enforcement would be unreasonable or oppressive, the motion to quash is denied.

      NOW, THEREFORE, IT IS HEREBY ORDERED that the Motions to

Quash filed by the State of Wisconsin, ECF No. 53, and the United States, ECF No.

55, are DENIED.




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      IT IS FURTHER ORDERED that, notwithstanding any local rule to the

contrary, any appeal of this Order to the District Judge shall be taken within TEN

DAYS of the entry of this Order and that any reply be submitted by Sonag SEVEN

DAYS thereafter.

      IT IS FURTHER ORDERED that the subpoenas served by Sonag are

enforceable but that compliance need not occur unless and until the District Judge

affirms this instant Order. Accordingly, Defendant’s Motion for Preliminary Order

Approving and Enforcing Subpoenas Duces Tecum Before Anticipated Challenge to

Jury Plan, ECF No. 32, is GRANTED IN PART and DENIED IN PART.

      Your attention is directed to 28 U.S.C. ' 636(b)(1)(A), Fed. R. Crim. P. 59(a),

and E.D. Wis. Gen. L. R. 72(c), whereby written objections to any order herein, or

part thereof, may be filed within fourteen days of service of this Order or prior to

the Final Pretrial Conference, whichever is earlier. Objections are to be filed in

accordance with the Eastern District of Wisconsin’s electronic case filing

procedures. Failure to file a timely objection with the district judge shall result in a

waiver of a party’s right to appeal. If no response or reply will be filed, please notify

the Court in writing.

      Dated at Milwaukee, Wisconsin, this 5th day of October, 2018.

                                                BY THE COURT:


                                                s/ David E. Jones
                                                DAVID E. JONES
                                                United States Magistrate Judge




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